815 F.2d 51
    The CONTINENTAL INSURANCE COMPANIES, Appellee,v.STATE OF MISSOURI, Appellant.
    No. 85-1940-WM.
    United States Court of Appeals,Eighth Circuit.
    March 30, 1987.
    
      Appeal from the United States District Court for the Western District of Missouri;  Russell G. Clark, Judge.
    
    ORDER
    
      1
      Prior report:  8th Cir., 811 F.2d 1180.
    
    
      2
      The petitions for rehearing en banc have been considered by the Court and are hereby granted.  The Clerk of this Court is directed to set this case for en banc argument on Tuesday, May 12, 1987 at 2:00 p.m. in St. Paul, Minnesota.  The parties only are directed to file simultaneous 15-page supplemental briefs by April 20, 1987.  Judges Richard Arnold and John Gibson did not participate in the rehearing vote.
    
    